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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    CENTER FOR AUTISM AND RELATED                                  )      Case No. 23-90709 (DRJ)
                           1
    DISORDERS, LLC, et al.,                                        )
                                                                   )
                              Debtors.                             )      (Jointly Administered)
                                                                   )
                                                                   )      Re: Docket No. 273

           NOTICE OF (I) ENTRY OF AN ORDER APPROVING THE DEBTORS’
        DISCLOSURE STATEMENT AND CONFIRMING THE JOINT CHAPTER 11
         PLAN OF CENTER FOR AUTISM AND RELATED DISORDERS, LLC AND
        ITS DEBTOR AFFILIATES AND (II) OCCURRENCE OF EFFECTIVE DATE

       On July 28, 2023, David R. Jones, United States Bankruptcy Judge for the United States
Bankruptcy Court for the Southern District of Texas (the “Court”), entered the Order Approving
the Debtors’ Disclosure Statement and Confirming the Joint Chapter 11 Plan of Center for Autism
and Related Disorders, LLC and Its Debtor Affiliates [Docket No. 273] (the “Confirmation
Order”) confirming the Plan2 and approving the Disclosure Statement [Docket No. 17] of the
above-captioned debtors (the “Debtors”).

       On July 27, 2023, the Court entered the Order (I) Authorizing the Sales of the Debtors’
Assets Free and Clear of Liens, Claims, Encumbrances, and Interests, (II) Approving the Asset
Purchase Agreements, (III) Authorizing the Assumption and Assignment of Certain Executory
Contracts and Unexpired Leases, and (IV) Granting Related Relief [Docket No. 269] (the “Sale
Order”).

             The Effective Date of the Plan occurred on August 25, 2023.

        Among other things, the Sale of the Acquired Assets to the Purchasers in accordance with
the Sale Order, the Pantogran APA, and the Audax APA, including the assumption and assignment


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
      Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
      (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
      Nevada 89074.

2     Capitalized terms used but not otherwise defined herein have the meanings given to them in the First Amended
      Joint Chapter 11 Plan of Center for Autism and Related Disorders, LLC and Its Debtor Affiliates
      [Docket No. 243] (as modified, amended, and including all supplements, the “Plan”) or the Sale Order, as
      applicable.
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 of the Assigned Contracts to the respective Purchaser, is deemed effective as of 11:59 p.m. ET on
 the Effective Date of the Plan.

         The Confirmation Order, the Plan, and the Sale Order, including the Pantogran APA and
 the Audax APA, are available for inspection. If you would like to obtain a copy of the
 Confirmation Order, the Plan, or the Sale Order, you may contact Stretto, Inc., the notice, claims,
 and solicitations agent retained by the Debtors in these Chapter 11 Cases, by: (a) calling the
 Debtors’ restructuring hotline at +1 (855) 925-7872 (toll free) or +1 (949) 892-1668
 (international);      or   (b) visiting    the     Debtors’    restructuring       website       at:
 https://cases.stretto.com/CARD. You may also obtain copies of any pleadings Filed in these
 Chapter 11 Cases for a fee via PACER at: www.txs.uscourts.gov.

        The Court has approved certain discharge, release, exculpation, injunction, and related
 provisions in Article IX of the Plan.

         The Plan and its provisions are binding on the Debtors, the Wind-Down Debtors, and any
 holder of a Claim or an Interest and such holder’s respective successors and assigns, whether or
 not the Claim or the Interest of such holder is Impaired under the Plan, and whether or not such
 holder voted to accept the Plan.

        The Plan and the Confirmation Order contain other provisions that may affect your rights.
 You are encouraged to review the Plan and the Confirmation Order in their entirety.

Houston, Texas
August 26, 2023

/s/ Matthew D. Cavenaugh
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Co-Counsel to the Debtors                             Co-Counsel to the Debtors
and Debtors-in-Possession                             and Debtors-in-Possession




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                                     Certificate of Service

        I certify that on August 26, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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